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                                                          o                                                                     o                                                      CM-010
       ATTORNEY OR PARTY WITHOUT ATTORNEY {.Vanie StetO 6» nomt>af. ana aOOrostl-                                                                      FOR counr use ONLY
      ~Jonatnan Farahi, Esq.(SEN 324316)
        Boris Treyzcn,feq(SEN 188893)
           ABIR COHEN TREYZCN S/U_0. LLP
           1901 Avenue ofthe Starts, Suite 935, Los AnRcles, CA 90067
                   TELEPHONE NO.: M24)-288-4367                                    FAX NO.; (424)-288-436B                                    FILED
                                                                                                                                              SsffFfifmep Gmfty§y^fi§f§&ifi
       ATTORNEY FOR TNanw;.- PlflintifF
      SUPERIOR COURT OF CALIFORNIA,COUNTY OF $30 FranclSCO
           STREET ADDRESS: 400 McAllistcr Street                                                                                                          APR. 10 2(il}
           MAiuNGADDRESS. 400 McAllistcr Street
          CITY AND BP CODE; Sao Francisco CA 94102-4514
                       BRANCH NAME: Ccntral
           CASE NAME:
        Schmidt, Northrup, et al. v. AAF Players, et ai.
                                                                                                                                       CASE NUMBER;                             —
                 CIVIL CASE COVER SHEET                                              Complex Case Designation
      1 / 1 Unlimited
            (Amount
                                         1    1 Limited
                                                (Amount
                                                                               1     1 Counter           1     1 Joinder
                                                                                                                                        C8C-19-575169
                                                                                                                                        JUDGE:
                   demanded                           Filed with first appearance by defendant
                                                  demanded is
           exceeds $25,000) $25,000 or less)              (Cal. Rules of Court, rule 3.402)    DEPT:

                                    Items 1-6 below must be completed(see instructions on page 2).
      1. Check one box below for the case type that best describes this case:
             Auto Tort                                                     Contract                                         Provisionally Complex Civil Litigation
            □ Auto (22)                                                    \72 Breach of contract/warranty (06)             (Cal. Rules of Court, rules 3.400-3.403)
            n Uninsured motorist (46)                                      ED Rule 3.740 collections (09)                   I    I Antitrust/Trade regulation (03)
            Other Pl/PD/WD (Personal Injury/Property                                 Other collections (09)                 ED Construction defect (10)
            DamageWrongful Death) Tort                                     ED Insurance coverage (18)                       I    I Mass tort (40)
            n Asbestos (04)                                                □ Other contract (37)                            ED Securities litigation (28)
            i          1 Product liability (24)                            Real Property                                    I    I Environmental/Toxic tort (30)
            □ Medical malpractice (45)                                     ED Eminent domain/Inverse                        ED Insurance covers^e claims arising from the
            □ Other Pl/PD/WD (23)                                                    condemnation (14)                                 above listed provisionally complex case
             Non-PUPD/WD (Other) Tort                                      L^J Wrongful eviction (33)                                  types (41)

            □ Business tort/unfair business practice (07)                  I       I Other real property (26)               Enforcement of Judgment
            ED           Civil rights (08)                                 Unlawful Detainer                                ED Enforcement of judgment (20)
            ED           Defamation (13)                                   I       I Commercial (31)                        Miscellaneous Civil Complaint
            ED           Fraud (16)                                        j       I Residential (32)                       ED RICO (27)
            ED           Intellectual property (19)                        I       I Drugs (38)                             I    I Other complaint (not specified above) (42)
            ED           Professional negligence (25)                      Judicial Review                                  Miscellaneous Civil Petition
            ED           other non-Pi/PD/WD tort (35)                      ED Asset forfeiture (05)               ED Partnership and corporate governance (21)
             Employment                                                    ED Petition re: arbitration award (11) □ Other petition (not specified above) (43)
            □ Wrongful termination (36)                                    I       I Writ of mandate (02)
            I , ■ j Other employment (15)                                  I       I Other judicial review (39)
      2.     This case I / I is       I I is not                   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                factors requiring exceptional judicial management:
                a. I / I Large number of separately represented parties                           d. I / I Large number of witnesses
                b.ED Extensive motion practice raising difficult or novel                         e. I       I Coordination with related actions pending in one or more courts
                             issues that will be time-consuming to resolve                                     in other counties, states, or countries, or in a federal court
                c. I      I Substantial amount of documentary evidence                            f. I       I Substantial postjudgment judicial supervision
                Remedies sought (check all that apply): a.l / I monetary                        b.l / I nonmonelary; declaratory or injunctive relief                       C. I / I punitive
                Number of causes of action (specify): 8
                This case I / I Is            □ is not             a class action suit.
                if there are any known related cases, file and serve a notice of related case. (You may use form
                                                                                                                                                                                        8YFAX
      Date: 04-09-2019                                                                                                                                                                ONE LEGAL LLC
      Jonathan Farahi, Esq
                                                  OR PRINT NAME)                                                           (SIGNATUI        PARTY OH ATTORNEY FOR PARTY)
                                                                                               NOTICE
           • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                In sanctions.
           • File this cover sheet in addition to any cover sheet required by local court rule.
           • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
           • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
      Fomi Adoptad for Mandaiery Use                                                                                                       Cel. Rues of Court, tUes 2 30.3.220.3 400-3.403,3.740;
        JiKtci*! Coundl oT Calitornis
                                                                           CIVIL CASE COVER SHEET                                                 Cel. Standards ot Judicial Administrstion.std. 3.10
           CM.010 [Rev. Juv 1.2007]                                                                                                                                            mmv. ootrtinfo.ca go*




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          1    ABIR COHEN TREYZON SALO,LLP
               Boris Treyzon, Esq.(SEN 188893)                                      1J1 T Y          1JI -pw
          2
               Jonathon Farahi, Esq.(SBN 324316)-Vf^^\(§CXjC^ktLU' J? X JL/ JO/ X-r
               1901 Avenue of the Stars, Suite 935                         CO/IA SanFrgneleeo County Superior Court
          3
               Los Angeles, CA 90067
          4    Telephone:(424)288-4367                                                           1"^"'3
               Facsimile:(424)288-4368                                               CLERK QF THiE COURT
          5
                                                                                  BYi
               Attorneys for Colton Schmidt and Reggie Northnip                                          Deputy Oefk
          6    Attorneys for the Plaintiff Class
          7
                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
          8
                                             COUNTY OF SAN FRANCISCO
          9
                                              UNLIMITED JURISDICTION
         10

          11
               Colton Schmidt, individually and on behalf of
               others similarly situated; Reggie Northrup,
                                                               Case No
                                                                         CeC-19~575169
          12   individually and on behalfofothers similarly    CLASS ACTION
                                                               COMPLAINT FOR DAMAGES
               situated.
         13
                             Plaintiffs,                       1. BREACH OF CONTRACT
         14
                                                               2. BREACH OFIMPLIED COVENANT
          15                     vs.                              OF GOOD FAITH AND FAIR
                                                                    DEALING
         16    AAF Players, LLC,a Delaware Limited
                                                               3. PROMISSORY ESTOPPEL
               Liability Company, d/b/a/ The Alliance of
          17   American Football.; Thomas Dundon, an           4. FAILURE TO PAY WAGES IN
               individual; Charles "Charlie" Ebersol, an            VIOLATION OF LABOR CODE §
          18
               individual; Legendary Field Exhibitions, LLC, lOhETSEQ.
          19   a Delaware Limited Liability Company; AAF 5. VIOLATION OF BUSINESS AND
               Properties, LLC,a Delaware Limited Liability  PROFESSIONS CODE § 17200,ET
         20    Company; Ebersol Sports Media Group, Inc.,           SEQ.
               a Delaware Corporation; and DOES 1 through
         21    200, inclusive,                                 6.   FRAUD

         22                                                    7.   FALSE PROMISE
                             Defendants.
                                                               8. INDUCING BREACH OF
         23
                                                                  CONTRACT
         24                                                    DEMAND FOR JURY TRIAL

         25

         26

         27                                                                                        BY FAX
                                                                                                  ONE LEGAL IJ.C
         28



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          1           Plaintiffs Colton Schmidt and Reggie Northrup (collectively referred herein as
          2    "Plaintiffs"), on behalf of tliemselves and all otliers similarly situated, and demanding trial by
          3    jury, complain and allege upon information and belief:

          ^                                               PARTIES
          5
                              Plaintiffs
          6
                              a. Plaintiff Colton Schmidt,("PlaintiffSchmidt")is, and at all relevant times has
          7
                                  been, citizen and resident of the County of Los Angeles, State of California.
          8
                                  Colton Schmidt was a player in a now-defunct football league commonly
          9
                                  known as the Alliance of American Football("AAF")owned and operated by
          10
                                  the Defendants herein. The AAF was only operated for eight weeks before
          11
                                  Defendants announced league operations were indefinitely suspended.
          12
                                  Plaintiff Colton Schmidt would not have played in the league, subjecting
          13
                                  himselfto serious risk of physical harm or damage to his health, and would not
          14
                                  have foregone other financial opportunities and entered into contracts with the
          15
                                  Defendants as described herein ifPlaintiffknew the league was not financially
          16
                                  viable from the outset, and that the intent of its main investor was to
          17
                                  fraudulently, deceptively, and pretextually acquire underlying intellectual
          18
                                  property and/or lecluiology from the league and then cease league operations.
          19
                              b. Plaintiff Reggie Northrup,("Plaintiff Northrup") is, and at all relevant times
          20
                                  has been, a citizen and resident of the County of Orange, State of Florida.
          21
                                  Reggie Northrup was a player in a now-defunct football league commonly
          22
                                  known as the Alliance of American Football("AAF")owned and operated by
          23
                                  the Defendants herein. The AAF was only operated for eight weeks before
          24
                                  Defendants announced league operations were indefinitely suspended.
          25
                                  Plaintiff Northrup would not have played in the league, subjecting himself to
          26
                                  serious risk of physical harm or damage to his health, and would not have
          27
                                  foregone other financial opportunities and entered into contracts with the
          28


                                                        1
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           1                Defendants as described herein if PlaintifTknew the league was not financially

          2                 viable irom the outset, and that the intent of its main investor was to

          3                 fraudulently, deceptively, and pretextually acquire underlying intellectual
          4                 property and/or technology from the league and then cease league operations.
          5              Defendants

          6              a. AAF Players, LLC("League")is, and at all times has been,a Delaware limited
          7                 liability company with its principal place of business at 149 New Montgomery
          8                 Street, San Francisco, California. This is the company which entered into the

          9                 contract with Plaintiff.

          10             b. Defendant Thomas Dundon("Dundon")is, and at all relevant times has been,

          M                 a citizen and resident of Dallas, Texas. Defendant Dundon is being sued in his

          12                individual capacity.

          13             c. Defendant Charles "Charlie" Ebersol ("Ebersol") is, and at all relevant times

          14                has been, a citizen and resident of Los Angeles County, California. Defendant
          15                Ebersol is being sued in his individual capacity.

          16             d. Defendant Legendary Field Exhibitions, LLC("Legendary")is, and at all times
          17                has been, a Delaware company with its principal place ofbusiness at 149 New
          18                Montgomery Street, San Francisco, California. On information and belief, this
          19                is a holding company for the assets of the AAF that also serves as an operating
         20                 entity for the AAF,its assets, and various subsidiaries.

          21             e. Defendant AAF Properties, LLC("Holding Company")is, and at all times has
          22                been, a Delaware company and has its principal place of business at 149 New
         23                 Montgomery Street, San Francisco, California. On information and belief, this
          24                company holds certain AAF assets and serves as an operating entity for the
          25                 AAF's gaming platform.

          26             f. Defendant Ebersol Sports Media Group, Inc. is, and at all times has been, a
          27                Delaware company with its principal place of business at 10866 Wilshire
          28                Boulevard, Suite 300, Los Angeles, California. On information and belief,


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          1                       Ebersol Sports Media Group is a predecessor entity to the AAF, and/or a
          2                       holding company for Charlie Ebersol's ownership interest in Defendant
          3                       Legendary Field Exhibitions, LLC.

          4           3.      Each defendant named herein, including DOES 1-200, acted as an agent, joint
          5    venturer, employee, associate, assign, partner, contractor, representative, or alter ego ofor for the
          6    other Defendants regarding the acts, violations, and common course of conduct alleged herein.
          7           4.      Various persons, individuals, partnerships, corporations, businesses form
          8    unknown and associations, not named as defendants, have participated as co-conspirators in the
          9    violations alleged, and have perfonned acts and made statements in furtherance thereof.
         10           5.      Plaintiffs do not know the true names and capacities of the Defendants sued as
         11    Does 1 through 200, inclusive, and therefore sues those Defendants by fictitious names under
         12    Califomia Code ofCivil Procedure, section 474. Plaintiffs will amend this Complaint to state the
         13    true names and capacities ofthe fictitiously-named Defendants when those names are ascertained.
          14   Plaintiffs are informed and believe, and thereon allege, that each of the fictitiously-named
          15   Defendants is legally responsible for the events and damages alleged under the causes of action
          16   alleged.

          17          6.      Plaintiffs are informed and believe, and thereon allege, that each ofthe named and
          18   fictitious Defendants identified was the agent, joint venturer, employee, associate, assignee,
          19   assignor, partner, contractor, representative, or alter ego of one or more ofthe other Defendants
         20    and was acting in the course and scope of such agency, partnership, joint venture, association
          21   and/or employment when the acts causing the causes of action occurred.
          22
                                                JURISDICTION AND VENUE

          23
                       7.     Pursuant to Califomia Code of Civil Procedure, section 382, Plaintiffs bring this
          24
               case individually and as a class action on behalf ofall persons who contracted with AAF Players,
          25
               LLC or were involved with the Alliance of American Football as a player.
          26
                       8.      At all times, all Defendants and each ofthem purposely availed themselves ofthe
          27
               benefits ofthe State ofCalifomia by residing or doing business in California, thereby submitting
          28




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                                 o                                            o
               to the jurisdiction of the courts of the State.

          2            9.      At all times, all Defendants and each of them maintained sufficient contacts with

          3    the State of California, by cither residing in California or operating the football league's business

          4    and management functions in California, such that this Court's exercise of personal jurisdiction
          5    over the Defendants does not offend traditional notions of fair play and substantial justice.

          6            10.     This Court has jurisdiction over this controversy under Code of Civil Procedure,
          7    section 410.10 and the amount in controversy exceeds the $25,000.00 minimum jurisdictional
          8    requirement of this Court, exclusive of costs and attorney's fees.

          9            11.     Venue as to each Defendant is proper in thisjudicial district, under California Code
          10   ofCivil Procedure,section 395(a)and 395.5. Each Defendant either maintains an office, transacts
          11   business, has an agent, or is found in the City and County of San Francisco and is within the
          12   jurisdiction ofthis Court for service ofprocess. The unlawful acts alleged directly affected citizens
          13   within the State ofCalifornia, and more particularly, witliin the City and County ofSan Francisco.
          14   More particularly, the contracts were negotiated and entered into in part,in the State ofCalifornia
          15   and, more particularly, within the City and County of San Francisco. A majority ofthe acts and
          16   decisions leading to and constituting the contract breaches and other wrongs alleged herein
          17   occurred in the City and County ofSan Francisco.

                                               CLASS ACTION ALLEGATIONS

          19
                       12.     Plaintiffs sue on behalf ofthemselves and all others similarly situated, as a class
          20
               action under California Code of Civil Procedure,section 382. The Class which Plaintiffs seek to
          21

          22
               represent comprises and is defined as all persons who contracted with AAF Players, LLC or

          23   were involved with the Alliance of American Football as a player. Specifically excluded from
          24   the Class are: the Defendants herein; officers, directors of Defendants; any entity in which any
          25
               Defendant has a controlling interest; the affiliates, legal representatives, attorneys, heirs, or
          26
               assigns ofany Defendant; and any federal, state or local governmental entity, and any judge,
          27
               justice, or judicial officers presiding over this matter and the Members oftheir immediate
          28



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           1    families and judicial staffs.

          2             13.    This action has been brought and may properly be maintained as a class action,

          ^     under California Code of Civil Procedure,section 382 because there is a well-defined
                community ofinterest in the litigation and the proposed class is easily ascertainable:

                                a. Numerositv; The Class is so numerous that the individual joinder of all

                                    members is impracticable under the circumstances. While the exact number

          8                         ofclass members is unknown to Plaintiffs at this time, the class is believed to
          9                         be more than sufficient to satisfy the numerosity requirement ofthis Court.

         ^^                         AAF consisted ofeight centrally-operated teams. All players ofthese teams
          ^^                        are members ofthe Class. Given the number ofClass Members,joinder of all
         12
                                    Members ofthe Class is not practicable.
         13
                                b. Common Questions Predominate: Common questions oflaw and fact exist
         14

         j^                         as to all Members ofthe Class and predominate over questions which affect
         15                         only individual Members ofthe class. These common questions oflaw and

         17                         fact include, without limitation:
          1 o

                                        i. Whether Defendants breached their contracts with the respective
         19
                                            Class Members;
         20
                                        ii. Whether Defendants breached the implied covenant of good faith and
         21
                                            fair dealing;
         22

         23                            iii. Whether Defendants may be prevented from repudiation oftheir
         24                                 agreements with the Class Members based on promissory estoppel;
         25                            iv. Whether Defendants breached California Labor Code, section 201,et
         26
                                            seq.\

         27
                                        v. Whether Defendants violated California Business and Professions
         28


                                                                  5
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          1                         Code, section 17200;

          2                    vi. Whether the Defendants committed fraud;

          3
                               vii. Whether the Defendants are liable for false promises made to Class
          4
                                    Members;
          5
                              viii. Whether Defendants are liable for intentional interference with the
          6
                                    Class Members' existing contractual relations;
          7

          8                    ix. Whether Defendants are liable for inducing breach ofthe Class

          9                         Members' contracts with AAF Players, LLC;

          10                    X. The effect upon and the extent ofinjuries sustained by Members of
          11
                                    the Class and the appropriate type and/or measure ofdamages;
          12
                               xi. The appropriate nature of Class-wide equitable relief.
          13
                         c. Tvpicalitvi Plaintiffs' claims are typical of the claims of the Members ofthe
          14

          15
                            Plaintiff Class. Plaintiffs and all Members ofthe Class sustained injuries and

          16                damages arising out of Defendants' common course ofconduct in violation

          17                oflaw as complained of herein. The injuries and damages of each member of
          18
                            the Class were caused directly by Defendants' wrongful conduct in violation
          19
                            oflaw as alleged herein.
         20
                         d. Adequacy: Plaintiffs will fairly and adequately protect the interests of the
         21
                            Members of the Class. Plaintiffs reside in California or contracted with
         22

         23
                            Defendant for a standard form contract to be performed, in whole or in part,

         24                 in Califomia. Plaintiffs are adequate representatives ofthe Class as they have

         25                 no interests adverse to the interests of absent Class Members. Each

         26
                            representative was a contracted player in the AAF or contracted with the
         27
                            AAF Players, LLC. Plaintiffs have retained counsel with substantial
         28




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          1                       experience and success in the prosecution ofcomplex actions and mass torts,
          2                    e. Superiority: A class action is superior to other means for the fair and
          3
                                  efficient adjudication ofthis controversy since individual joinder of all
          4
                                  members ofthe class is impracticable. Class action treatment will permit a
          5
                                  large number of similarly situated persons to prosecute their common claims
          6

          7
                                  in a single forum simultaneously, efficiently, and without the unnecessary

          8                        duplication of effort and expense that numerous individual actions would

          9                       engender. The damages suffered by each individual member are the same
          10                       throughout. The expenses and burden ofindividual litigation would make it
          11
                                   difficult or impossible for individual members ofthe class to redress the
          12
                                   wrongs done to them, while an important public interest will be served by
          13
                                   addressing the matter as a class action. The cost to the court system of
          14

          15
                                   adjudication ofsuch individualized litigation would be substantial.

          16                       Individualized litigation would also present the potential for inconsistent or

          17                       contradictory judgments.
          18
                         14.   Plaintiffs are unaware ofany difficulties likely to be encountered in the
          19
               management of this action tliat would preclude its maintenance as a class action;
         20
                                                 GENERAL ALLEGATIONS
         21
                         15.   As early as May, 2017, Charles "Charlie" Ebersol formed a joint venture or
         22

         23    partnership agreement to launch the Alliance of American Football, a new professional football

         24    league.

         25              16.   On March 20, 2018, AAF CEO Charlie Ebersol publicly announced the creation
         26
               of the AAF. Ebersol created the league intending to appear to potential AAF players as a
         27
               legitimate league that would provide a potential path to a successful career as a future National
         28




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        ' i Football League player.
          I
        2 i   !    17. On March 20, 2018, AAF CEO Charlie Ebersol stated that all investors in the
         3j       league understood that the league required patience and wisdom to succeed, "if you are not
         4
                  committed seven to ten years, you are not taking this seriously."
         5
                         18.     On March 20,2018,AAF CEO Charlie Ebersol stated that the AAF wanted to find
         6

         7
                  partners who understood that in order to build the league into a successful and viable business,
         8        long term and patient investment strategy was necessary. The AAF wanted investors committed
         9        to the long-term health ofthe league and wanted to present itself as stable and secure.
        10               19.     On March 20, 2018 AAF CEO Charlie Ebersol stated, •^ve are not reinventing
        11
                  football. We want to reinvent the experience ... to a large degree what we think this is, is a very
        12
                  sober business model, long term plan that over the course of many years is going to build into
        13
                  something worthwhile. We are not trying to boil the entire ocean in the first day."
        14

        15
                         20.     On information and belief, the AAF owns and centrally operates all eight AAF

         16       teams and employs each team's players, coaches, and staff. On further information and belief, the
         17       players are not represented by a players' union.
         18
                         21.     On July 24,2018,the AAF announced that it was proud to have partnered with the
         19
                  legendary apparel brand, Starter, to be the official on field apparel and game day uniform supplier
        20
                  for all eight teams. This was to be a multi-year deal, clearly indicating that the AAF had
        21

        22
                  aspirations and intentions to run for more than the eight weeks it was operated before it was

         23
                  shutdown.


         24               22.    On October 15, 2018,Reggie Northrup and Defendant AAF Players, LLC entered
         25       into a valid three-year term contract(the "Contract"). Reggie Northrup agreed to be bound by all
         26
                  terms and conditions set forth in the agreement. In consideration of the mutual promises, rights,
         27
                  obligations, terms and conditions. Defendant AAF Players, LLC agreed to pay Reggie Northrup
         28


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         1    in ten equal payments:

         2           a.     $70,000 in the league year of 2019;
         3
                     b.     $80,000 in the league year of 2020; and
         4
                     c.     $100,000 in the league year of2021.
         5
                     23.    On January 8, 2019, Colton Schmidt and Defendant AAF Players, LLC entered
         6

         7
              into a valid three-year term contract (the "Contract"). Colton Schmidt agreed to be bound by all

         8    terms and conditions set forth in the agreement. In consideration of the mutual promises, rights,
         9    obligations, terms and conditions. Defendant AAF Players, LLC agreed to pay Colton Schmidt in
        10    ten equal payments:
        11
                            a.      $70,000 in the league year of2019;
         12
                            b.      $80,000 in the league year of2020; and
        13
                            c.      $100,000 in the league year of2021.
        14

        15
                     24.     According to the terms of the Contract, Colton Schmidt, Reggie Northrup and

         16   Class Members were to "not play football or attempt to play any type of football for any team,
         17   league or association of teams other than the team to which Player is allocated by the Alliance,
        18
              except with the prior written consent ofthe Alliance."
         19
                     25.     Each player in the Class signed the exact same standard form contract as Reggie
        20
              Northrup and Colton Sciimidt. Each player owed Defendants the same significant, material
        21
              conditions, covenants, and obligations under the terms ofthe Contract.
        22

        23           26.     Defendant owed each player in the class the significant, material conditions,

        24    covenants, and obligations under the terms ofthe Contract.

        25           27.     On information and belief, Plaintiffs and Class Members never received the
        26
              Football Administration Manual referenced in the Contract. On further infonnation and belief,
        27
              Defendants never provided Plaintiffs and/or Class Members with the referenced Football
        28




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         1 i Administration Manual. IfDefendants' provide a copy ofthe Football Administration Manual and

         2 j proof of service of the Football Administration Manual, Plaintiffs and Class Members will
               suspend litigation to follow the grievance procedures purportedly set forth in that manual.
                      28.     On February 9, 2019, the Alliance debuted as the highest rated sports program in

               primetime on February 9, 2019, on CBS, with additional broadcast partnerships with the NFL

               Network and Turner Sports adding millions more viewers. Over 6 million people watched the

         g     Alliance in its inaugural weekend according to the representations ofthe AAF itself.
         9            29.     On information and belief, the AAF had an official policy that once the regular

        ^^ I season began, players were to stay for the completion of the Alliance season. Players could not
        11 I
               seek employment with any other leagues, including the National Football League.
        12
                      30.     On information and belief, on February 19, 2019, Defendant Dundon committed
        13
               to providing the AAF a S250 million-dollar line of credit to ensure league operations could
         14

        15
               continue. Because ofthis commitment,Dundon became chairman ofthe board and had full control

        16     ofthe league's future. This commitment was widely disseminated and endorsed by Dundon.
         17           31.     On information and belief. Defendant Dundon was not an initial investor in the
         18
               AAF.

         19
                      32.     On information and belief, when Dundon became the AAF's chairman and its
        20
               primary financial backer, he gained final decision-making authority on all league operations.
        21
                      33.     During an interview on February 19, 2019, post-investment, Defendant Dundon
        22

        23     stated,"[tjhere's a difference between commitments and funding- They had the commitments to
        24     last a long time, but maybe not the money in the bank. My money is in my bank. I'm sure ofit.
               The amount of money they(AAF)needed for Thursday wasn't an amount of money that would
        26
               have taken the league down. You could make me feel really good.,. but the truth is, they had other
        27
               people, they were talking."
        28




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                                   o

         1                34.    During that same interview on February 19, 2019, post-investment. Defendant
         2        Dundon assured many years of ongoing league operations when he said,"[the AAF]didn't have
         3 i
              I
                  a permanent solution like 1 provided. That's enough money to run this league for a long time,
         4
                  we're good for many years to come with what I just did."
         5
                          35.    On February 19,2019, Charlie Ebersol as the CEO and co-founder of the league,
         6

         7
                  said the league was never in any serious financial jeopardy. Ebersol is quoted as saying in response

         8        to Defendant Dundon's investment,"After that first week of games, we were at the height of our

         9        valuation and were able to dictate our future."

        10
                          36.    On information and belief, Dundon purchased a majority stake in the AAF not for
         11
                  the underlying asset of a professional football league, but rather for its intellectual property.
        12
                  Specifically, Dundon sought ownership rights in Defendant Ebersol Sports Media and Defendant
         13
                  Legendary Field Exhibitions, LLC's innovative gambling software application technology and its
        14

                  data.
         15

         16               37.    On information and belief, Dundon's investment in the league was not for the

         17       benefit of tlie league itselfor for profits he might have derived from the operation of the football
         18
                  league. The acquisition of the league through his investment was pretext: the true motivation of
         19
                  Defendant Dundon was to acquire the smartphone application intellectual property that could be
         20
                  used for gambling on player performance in fantasy football and real time proposition bets, all
         21
                  tied to player compensation based upon performance.
         22

         23
                          38.    On information and belief. Defendants are still developing and/or perfecting these

         24       technologies despite the cessation ofleague operations.

         25               39.    On April 2, 2019, Defendant Dundon and Defendant AAF suspended operations
         26
                  of the Alliance of American Football effective immediately. The decision to suspend operations
         27
                  and discontinue games constituted both an anticipatory breach of the contract and a material
         28


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         1    breach of the contract.

         2           40.     On or around April 2, 2019, the AAF announced that its players were now free to
         3
              pursue other playing opportunities, indicating the suspension of operations is permanent and
         4
              league operations will not resume.
         5
                     41.     On April 2, 2019, Colton Sclunidt, Reggie Northrup and Class Members had
         6

         7
              performed all significant, material conditions,covenants,and obligations owed to Defendant AAF
         8    Players, LLC under the terms of the Contract.

         9           42.     On April 2, 2019, Colton Schmidt, Reggie Northrup and Class Members stood
        10
              ready to perform every significant material condition,covenant,and obligation owed to Defendant
        11
              AAF Players, LLC under the terms ofthe Contract for the remaining term.
        12
                      43.    All Class Members entered into the same standard form contract as Reggie
        13
              Northrup and Colton Schmidt.
        14

        15
                      44.    All Defendants, and each of them, were beneficiaries of AAF Players, LLC's

        16    contracts with league players and staff. Defendants, and each of them, were all involved in
        17    cooperative and joint efforts for the operation and management of AAF.
         18
                      45.    On April 2,2019, Colton Schmidt, Reggie Northrup and Class Members' Contract
         19
              had not been voided, canceled, or terminated by the Defendants.
        20
                      46.     On April 2,2019, Defendants were not excused in any way from performing every
        21
              si^ificant material condition, covenant, and obligated owed to Plaintiffs and Class Members.
        22

        23    ///


        24    ///

        25    ///

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              ///

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              ///
        28


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                                        CLASS ACTION COMPLAINT FOR DAMAGES




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         1                                              LIABILITY

         2                                     FIRST CAUSE OF ACTION

         ^                                      BREACH OF CONTRACT
                                         (Against Defendant AAF Players, LLC)

                     47.     Plaintiffs incorporate by reference all other paragraphs as ifset forth herein.
                     48.     Plaintiffs and Defendant AAF Players, LLC,entered into a Contract. The Standard

         8    Player Agreement, referenced herein as the Contract, was a valid, enforceable contract between
         9    Plaintiffs and Defendant AAF Players, LLC, whereby Defendant AAF Players, LLC agreed to

         ^^   pay Plaintiffs certain sums of money for a term ofthree years and Plaintiffs promised to be bound
         11
              by all terms and conditions set forth in the Contract.
         12
                     49.     Class Members each entered into the same exact standard form Contract.
         13
                     50.     Plaintiffs and Class Members have substantially performed and stand ready to
         14

         15
              continue to perform every significant material condition, covenant, and obligation owed to
         16   Defendant under the terms of the Contract.

         17          51.     Defendant has materially breached the Contract, by among other things, failing

         ^^   and refusing to pay Plaintiffs the annual base compensation in the amounts stated in the Contract.
         19
              Defendant has clearly and positively indicated, by words and/or conduct, that it will not and
         20
              cannot meet the Contract requirements.
         21
                     52.     Defendant's breach directly and proximately caused a reasonably foreseeable
         22

         23   injury to Plaintiffs and the Class. All parties knew or could reasonably have foreseen that the harm
         24   to Plaintiffs was likely to occur in the ordinary course of events because of the breach of the
         25   Contract.
         26
                     53.     As a direct and proximate result of Defendant's breach of the Contract, Plaintiffs
         27
              and the Class suffered damages as described above, and in an amount according to proof.
         28


                                                              11
                                      CLASS ACTION COMPLAINT FOR DAMAGES




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          1'          54.     Plaintiffs ftirther seek recovery of all other incidental, consequential, or

         ^     compensatory damages arising from the breach ofcontract in an amount to be proven.
         ^            55.     Under California Civil Code, section 3287, Plaintiffs and the Class seek pre-
         4
               judgment interest at the maximum legal rate, from the date ofbreach until trial.
         5
                                              SECOND CAUSE OF ACTION
         6

         ^          BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
          g                       (Against Defendant AAF Players, LLC,and Does 1-200)
         9            56.     Plaintiffs incorporate by reference all other paragraphs as ifset forth herein.

         ^®           57.     Plaintiffs and Defendant entered into the Contract in December 2018 and January
         11
               2019. The Standard Player Agreement formed a valid, enforceable contract between Plaintiffs and
         12
               Defendant AAF Players, LLC whereby Defendant agreed to pay Plaintiffs certain sums of money
         13
               for a term ofthree years and Plaintiffs promised to be bound by all terms and conditions set forth
         14

               in the Contract.
         15

         16            58.    Each Class Member entered into the same .standard form Contract.

         17            59.    Plaintiffs and Class Members have substantially performed and stand ready to

               continue to perform every significant material condition, covenant, and obligation owed to
         19
               Defendant under the terms ofthe contract.
         20
                      60.     Each party to the Contract owed the other party an obligation to deal fairly and in
         21

         22 good faith with each other. Defendant AAF Players,LLC unfairly interfered with Plaintiffs' rights
         23    to receive the conditions, covenants, and obligations owed to them by Defendant AAF Players,
         24    LLC under the terms ofthe Contract.

         25           61.     Defendant's bad faith directly and proximately caused a reasonably foreseeable
         26
               injury to Plaintiffs and the Class. As a direct and proximate result of Defendant's bad faith.
         27
               Plaintiffs have suffered damages as described above and, in an amount,according to proof.
         28


                                                               14
                                       CLASS ACTION COMPLAINT FOR DAMAGES




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                     62.     Plaintiffs and the Class fiirther seek recovery ofall other incidental, consequential

              or compensatory damages arising from the breach of contract in an amount to be proven.
                     63.     Under California Civil Code, section 3287, Plaintiffs and the Class seek pre-

              judgment interest at the maximum legal rate, from breach until trial.
                                               THIRD CAUSE OF ACTION

                                               PROMISSORY ESTOPPEL

                                         (Against all Defendants, and Does 1-200)

                     64.     Plaintiffs incorporate by reference all other paragraphs as ifset forth herein.
                     65.     Defendants made promises which Defendants should have reasonably expected
              would induce Plaintiffs and Class Members to make a substantial change of position, by act and

              forbearance.


                      66.    Plaintiffs and each Class member made a justified substantial change of position,

              by act and forbearance as a direct, proximate result of Defendants* promise.
                      67.    Injustice can only be avoided if Defendants are forced to perform all the
              conditions, covenants, and obligations owed to Plaintiffs and Class Members.
                      68.     Defendants' promises proximately caused a reasonably foreseeable injury to
              Plaintiffs and each Class member.

                      69.     As a direct and proximate result of Defendants* promises. Plaintiffs and Class
               Members have suffered damages as described above and, in an amount,according to proof.
                                              FOURTH CAUSE OF ACTION




         27

         28


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                                      CLASS ACTION COMPLAINT FOR DAMAGES



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         1   to pay Plaintiffs and Class Members any earned wages, including reimbursable expenses, within

         2   72 hours of the cessation ofPlaintiffs' employment.

                    72.       Section 203 of the California Labor Code provides that if an employer willfully

             fails to timely pay such wages in accordance with the provisions of section 201, the employer

             must continue to pay the discharged employee's wages until the back wages are paid in full or an

             action to recover those wages is commenced, up to a period not to exceed 30 days as a penalty.

         8          73.       To date. Defendants have failed to pay Plaintiffs and Class Members earned
         9   monies due under the agreed upon terms of the Contract between Plaintiffs, Class Members, and

             Defendants. Defendants' failure to pay Plaintiffs and Class Members was and continues to be
        11
             willful.
        12
                    74.       As a direct and proximate result of Defendants' unlawful conduct. Plaintiffs have
        13
             suffered economic damages in an amount to be proven.
        14

        15
                        75.   As a further and proximate result of Defendant's conduct. Plaintiffs may have the

        16   penalties provided for by California Labor Code,section 203,
        17              76.   As a direct and proximate result of Defendants; unlawful conduct and Labor Code

        ^^   violations. Plaintiffs and Class Members may recover attorneys' fees under California Labor
        19
             Code, section 218.5.
        20
                                                FIFTH CAUSE OF ACTION
        21
                         VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17200,etseq,
        22

        23                       (Against Defendant AAF Players, LLC,and Does 1-200)
        24              77.   Plaintiffs incorporate by reference all other paragraphs as ifset forth herein.
        25              78^   Failing to pay Plaintiffs and Class Members all wages due constitutes an unlawful,
        26
             unfair or fraudulent business act or practice, in violation of the California Unfair Competition
        27
             Law provided by the California Business and Professions Code,section 17200.
        28


                                                               16
                                      CLASS ACTION COMPLAINT FOR DAMAGES




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         1              79.     Orders for payment of wages unlawfully witlihcld from an employee are a
         2       restitutionary remedy authorized by the Business and Professions Code,section 17203.
             i

         ^I             80. Plaintiffs and Class Members may have restitution ofall such unpaid amounts and
         4 1
                 reasonable attorneys' fees, in an amount according to proof at time of trial because Plaintiffs and
         5
                 Class Members are former employees from whom wages were unlawfully withheld.
         6
         ^                                        SIXTH CAUSE OF ACTION
         g                                                   FRAUD

         9                                 (Against all Defendants, and Does 1-200)

        ^^              81.     Plaintiffs incorporate by reference all other paragraphs as ifset forth herein.
        11
                        82.      Defendants concealed and suppressed a material fact about their intentions for
        12
                 the long-term viability ofthe Alliance of American Football.
        13
                        83.     Defendants had to disclose the fact to Plaintiffs and Class Members as an
        14


        15
                 incident ofthe relationship between Defendants,Plaintiffs, and Class Members. Defendants'

        16       silence was wrongful. Once Defendants spoke about the long-temi viability of the league,
        17       Defendants were obligated to make a full and fair disclosure.

       '^               84.     Defendants intentionally concealed or suppressed tlieir disregard for the long-
        19
                 term viability ofthe league intending to defraud Plaintiffs and Class Members and intended to
        20
                 conceal the fact that the league was insolvent. Instead, Defendants represented that league has
        21
                 obtained enough funding for years ofoperations.
        22

        22               85.    Plaintiffs were unaware ofthe fact and would not have acted as they did ifthey
        24       had known of the concealed or suppressed fact. The concealed facts were material in that a
        25       reasonable person in Plaintiffs' position would have found it important in determining how he
        26
                 would have acted. Plaintiffs acted reasonably in relying on Defendants' misrepresentations.
        27
                         86,    Plaintiffs Colton Schmidt, Reggie Northrup and Class Members would not have
        28


                                                                  17.
                                         CLASS ACTION COMPLAINT FOR DAMAGES




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                                   c                                           o
         1        played in the league, subjecting themselves to serious risk ot physical harm or damage to tlieir
         2        health, and would not have foregone other financial opportunities and entered into contracts with
         3        the Defendants as described herein if Plaintiffs knew the league was not financially viable from
         4        the outset,and that the intent ofits main investor was to fraudulently,deceptively,and pretextually
         5        acquire underlying intellectual property and/or technology from the league and then cease league
         6        operations.

         7               87.     On information and belief, payment was due to Plaintiffs and each Class Members
         8        after each game. On further information and belief. Defendants failed to pay Plaintiffs and the
         9        respective Class Members after the initial game.
        10               88.     On further information and belief, Plaintiffs and each Class Member continued to

         11       subject themselves to serious risk of physical harm or damage to their heath and continued to
        12        forego other financial opportunities based on Defendant Dundon and Defendant EbersoPs

        13        statements and financial commitment to the league.

        14               89.     As a direct and proximate result of Defendant's misrepresentations, Plaintiffs and

         ^^       Class Members have suffered damages as described above and, in an amount, according to proof.
         16
                         90.     As a direct and proximate result of Defendant's misrepresentations. Plaintiffs and
         17
                  Class Members pray for punitive damages, in an amount, according to proof.
         18
                                                 SEVENTH CAUSE OF ACTION
        19

                                                         FALSE PROMISE
        20

        21                                   (Against all Defendants, and Does 1-200)

        22               91.     Plaintiffs incorporate by reference all other paragraphs as ifset forth herein.
              I


              j          92.     Defendants made promises to Plaintiffs and Class Members regarding the long-
        24 .
                  tenn longevity and health ofthe league. Defendants did not intend to perform the promises made
        25
                  when they made the promises.
        26
                         93.     Defendants intended that Plaintiffs and Class Members rely on their promises.

        2g        Plaintiffs and Class Members reasonably relied on Defendants' promises

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         1           94.      Defendants did not perform the promised acts.

         2           95.      Plaintiffs and Class Members were hanned and Plaintiffs' and Class Members'
         3
              reliance on Defendants' promises substantially caused Plaintiffs' and Class Members harm.
         4
                     96.      As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs and
         5
              Class Members have suffered damages in an amount to be proven.
         6
                                              EIGHTH CAUSE OF ACTION
         7

         8                               INDUCING BREACH OF CONTRACT

         9     (Against Defendants Dundon,Legendary Field Exhibitions LLC,Ebersol Sports Media
        10                         Group,Inc,, AAF Properties, LLC,and Does 1-200)
        11
                     97.      Plaintiffs incorporate by reference all other paragraphs as ifset forth herein.
        12
                     98.      Plaintiffs and Defendant AAF Players, LLC entered into a contract. The Standard
         13
              Player Agreement formed a valid, enforceable contract between Plaintiffs and Defendants
         14

        15
              whereby Defendants agreed to pay Plaintiffs certain sums of money for a term ofthree years and

         16   Plaintiffs promised to be bound by all terms set forth in the Contract.

         17          99.      Defendants knew of the valid contract between Plaintiffs and Defendant AAF

         18
              Players, LLC.
         19
                     ICQ.     Player Class Members all entered into the same Contract.
        20
                     101.     Defendants intended to cause AAF Players, LLC to breach the Contract between
        21
              Plaintiffs, Class Members, and Defendant AAF Players, LLC.
        22

        23           102. Defendants caused AAF Players, LLC to breach the Contract between Plaintiffs,
        24    Class Members, and Defendant AAF Players, LLC.

        25           103.     Defendants' acts harmed Plaintiffs and Class Members, and Defendants' conduct
        26
              substantially caused Plaintiffs' and Class Members' harm.
        27
                     104.     As a direct and proximate result ofDefendants' unlawful conduct. Plaintiffs and
        28


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                                o                                           o

               Class Members have suffered damages in an amount to be proven at trial.
                                                          damages


                      Plaintiffs and Class Members incoiporate by reference as if set forth herein every
         4
               allegation in the Complaint.
         5
                      As a direct and proximate result of the acts and omissions ofthe Defendants alleged
         6
               herein, Plaintiffs and Class Members were injured and damaged. The injunes and damages for
         7
               which Plaintiffs and Class Members seek compensation from the Defendants include, but are not
         8
               limited to:
         9                             a. Compensatory damages according to proof
         10                            b. Physical pain and suffering of a past, present, and future nature;
         11                            c. Emotional pain and suffering of a past, present and future nature,
         12                            d. Medical bills and expenses of a past, present and future nature
         13                            e. Loss of earnings;
         14                            f. Loss of earning capacity;
         15                            g. Pre-and-post-judgement interest;
         16                            h. Statutory aitd discretionary costs; and,
         17                            i. All sucli further relief, both general and specific, to which they may be
         18                                entitled to.

         19                                          PRAYER FOR RELIEF

         20
                     Plaintiffs incorporate by reference as if fully set forth each allegation in the Complaint.
         21
                 WHEREFORE,Plaintiffs and Class Members pray for damages and other judicial relief.
         22
                             1. That the Court determine this action may be maintained as a class action;
         23
                             2. That Plaintiffs and each and every member of the Class recover tlireefold the
         24
                                damages determined to have been sustained by them, and that joint and several
         25
                                judgments for Plaintiffs and every member of the Class, respectively, be entered
         26
                                 against Defendants and each of them;
         27
                             3. For general damages according to proof during tnaJ;
          28




                                                ACTIONC



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                    4. For special damages according to proof during trial;
       2            5. For prejudgment and post-judgment interest according to any provision oflaw,
       3                and according to proof;

       4            6. For costs ofsuit and reasonable attorneys' fees as provided by law,including, but
       5               not limited to attorneys' fees under California Labor Code, section 218;
       6             7. For punitive damages as provided by law;
       7             8. Restitutionary remedies authorized by the Business and Professions Code,
       8                section 17203; and

       9             9. For such other and further relief as the court deems proper.

      10

      11

      12   Dated: April 10, 2019                      Respectfully submitted,
      13
                                                      ABIR COHEN TREYZON SALO,LLP
      14

      15                                              By:
                                                              Boris Tre^n,Esq.
      16                                                      Jonathon Farahi, Esq.
                                                              Attorneys for Plaintiffs and Proposed
      17
                                                              Plaintiff Class
      18

      19

      20   ///

      21
           ///
      22
           ///
      23

      24


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                                   o                                             o

                                                    prMANn FOR JURY TRIAL
         1


         2

         3               Plaintiffs, on their own   behalf and on behalf of all others similarly situated, respectfully
         4
                  demand a jury trial.
         5

         6

                  Dated: April 10, 2019
                                                                  Respectfully submitted,
         7
                                                                  ABIR COHEN TREYZON SALO,LLP
         8

         9
                                                                  By:
         10                                                               Boris'i^reyzbn, Esq.
                                                                          Jonathon Farahi, Esq.
         11                                                               Attorneys for Plaintiffs and Proposed
                                                                          Plaintiff Class
         12

         13

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